Case 1:20-cr-00468-RMB Document 301-1 Filed 06/26/23 Page 1 of 7




                      United States v. Hadden,
                       S2 20 Cr. 468 (RMB)




             EXHIBIT S
                     (Statements of Victim-9)




 EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                            [SEALED]




                     Submitted: June 26, 2023
Case 1:20-cr-00468-RMB Document 301-1 Filed 06/26/23 Page 2 of 7




                      United States v. Hadden,
                       S2 20 Cr. 468 (RMB)




            EXHIBIT T
                     (Statements of Victim-11)




 EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                            [SEALED]




                     Submitted: June 26, 2023
Case 1:20-cr-00468-RMB Document 301-1 Filed 06/26/23 Page 3 of 7




                      United States v. Hadden,
                       S2 20 Cr. 468 (RMB)




            EXHIBIT U
                     (Statements of Victim-12)




 EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                            [SEALED]




                     Submitted: June 26, 2023
Case 1:20-cr-00468-RMB Document 301-1 Filed 06/26/23 Page 4 of 7




                      United States v. Hadden,
                       S2 20 Cr. 468 (RMB)




            EXHIBIT V
                     (Statements of Victim-20)




 EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                            [SEALED]




                     Submitted: June 26, 2023
Case 1:20-cr-00468-RMB Document 301-1 Filed 06/26/23 Page 5 of 7




                      United States v. Hadden,
                       S2 20 Cr. 468 (RMB)




           EXHIBIT W
                     (Statements of Victim-22)




 EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                            [SEALED]




                     Submitted: June 26, 2023
Case 1:20-cr-00468-RMB Document 301-1 Filed 06/26/23 Page 6 of 7




                      United States v. Hadden,
                       S2 20 Cr. 468 (RMB)




            EXHIBIT X
                     (Statements of Victim-65)




 EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                            [SEALED]




                     Submitted: June 26, 2023
Case 1:20-cr-00468-RMB Document 301-1 Filed 06/26/23 Page 7 of 7




                      United States v. Hadden,
                       S2 20 Cr. 468 (RMB)




            EXHIBIT Y
                     (Statements of Victim-87)




 EXHIBITS TO THE GOVERNMENT’S SENTENCING SUBMISSION


                            [SEALED]




                     Submitted: June 26, 2023
